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                                        UMTED STATES DISTRICT COURT
                                           DISTRICT OF MINNESOTA


     Daniel Elex,

                                 Plaintiff,,

      vs.                                                          VERDICT
                                                                   Court FileNo. l2-cv-3206 ADIWJJK

     Jeremy Halek,

                                 Defendant.




                                               SPECIAL YERDICT FORM



                 We, the Jury in the above-titled matter, find by the greater weight of the evidence, that
                                          \'l-                                        ./---,
     Defendant Jeremy Halek              CJrcI \,1^:ft                            (di(/did no9 use excessive

     force against Plaintiff Daniel Elex.

     [If   the   jury concludes that Defendant Halek did not use excessive force, skip          the   following
     questions relating to damages and have the foreperson sign and date the special verdict form.J

                  We the jury find the following answers to the questions submitted to us by the Court:

     1. What amount of money will fairly          and adequately compensate Plaintiff Daniel Elex for

     damages caused by the Defendant:

                                       (state the amount, or   if you find that the Plaintiff   s damages have no


                  monetary value, state the nominal amount of $1.00).




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 2. We assess punitive   damages against Defendant Jeremy Halek as follows:

                             (state the amount, or,   if none, write th^ ---^-r
                                                                                  ('----"\




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